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EXHIBIT E
Case 2:07-cv-00347-ALA 1 ADoGunierit 1-2 ONSIRDMAALS/ON HRageraef 48
STATE OF CALIFORNIA

BOARD OF PRISON TERMS

In the matter of the Life
Term Parole Consideration
Hearing of:

JAMES MACKEY

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iE tive ed a

MULE CREEK STATE PRISON

TONE, CALIFORNIA

MAY 6, 2005

PANEL PRESENT:

BOOKER WELCH, Presiding Commissioner
LOUTE DINTNNI, Deputy Commissioner

OTHERS PRESENT:

JAMES MACKEY, Inmate
CHERYL MONTGOMERY, Attorney for Inmate
EUAL DESMOND BLANSETT Jr., Deputy District Attorney
JEAN WEISS, Observer

GREG KANE, Observer

SUSAN GABLER, Observer

TOM CARNEGIE, Victim’s Next of Kin
BARBARA CARNEGIE, Victim’s Next of Kin
ADRIAN PARLEY, Victim’s Next of Kin
ANGEL CARRAZCO, Observer

KAREN CARNEGIE, Victim’s Next of Kin

CORRECTIONS TO THE DECISION HAVE BEEN MADR

No see Review of Hearing
Yes Transcript Memorandum

April Allen . Capitol Electronic Reporting
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1 PROCEEDINGS

2 DEPUTY COMMISSIONER DININNI: We’re on the
3 record.

4 PRESIDING COMMISSIONER WELCH: Okay. Good
5 morning, Mr. Mackey.

6 INMATE MACKEY: Good morning.

7 PRESIDING COMMISSIONER WELCH: How are you
8 this morning?

9 INMATE MACKEY: Fine. Thank you.

10 PRESIDING COMMISSIONER WELCH: Okay. Just
1] relax. There’s a lot of people here. Some of them
12 are victims. And we'll introduce everybody to you

13 as we go along. Okay.

14 INMATE MACKEY: Okay.

15 PRESIDING COMMISSIONER WELCH: So we need to
16 get started. So this is an initial hearing for

17 you. Is that correct?

18 INMATE- MACKEY: Yes.

19 PRESIDING COMMISSIONER WELCH: So I’ll take
20 a few minutes and explain -- Well, first of all,

21 let’s read your case factors in the record, The

22 prisoner’s name is Mackey, M-A~C-K-E-yY. First name

23 is James, J-A-M-E-s, CDC number is E-76532. The
24 date of the hearing is 5/06/05. The location is

25 Mule Creek State Prison. The prisoner was received
26 CDC on 10/20/1990 from San Joaquin County for the

27 offense of murder first, Case number 45624, count
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one, Penal Code violatec 187. Total term, 25 years
to life. Minimum eligible parole date was ~~ well,
T should say is 1/29/2006. Mr. Mackey, this
nearing will be tape-recorded today. Okay.

INMATE MACKEY: Okay.

PRESIDING COMMISSIONER WELCH: 50 for the
purpose of voice identification, we’ll need to go
around the room and identify ourselves, stating our
full name and spelling our last name. I’il start
with myself and I’1il go to my left. My name is
Bocker Welch. Tt’'s spelled W-E~L-C-H,
Commissioner, Board of Prison Terms.

DEPUTY COMMISSIONER DININNI: Louie piNinni,
D-I-N-I-N-N-TI, Deputy Commissioner.

PRESIDING COMMISSIONER WELCH: We'll start

here.

MS. WEISS: Jean Weiss, W-E-I-S-S, victim
support.

PRESIDING COMMISSIONER WELCH: Okay.

MR. KANE: Greg Kane, K-A-N-E, Stockton
Records.

PRESIDING COMMISSIONER WELCH: Okay.
Stockton what?

MR. KANE: Records.

PRESIDING COMMISSIONER WELCH: Okay.

MS. GABLER: Susan Gabler, G-A-B-L-E-R,

Victim Service committee representative.
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MR. CARNEGIE: Tom Carnegie,
C-A-R-N-E-G-I-E, Larry's older brother.
PRESIDING COMMISSIONER WELCH: Thank you.

MS. B. CARNEGIE: Barbara Carnegie,

~C-A~R-N-E-G-TI-E, Larry’s beloved younger sister.

PRESIDING COMMISSIONER WELCH: Thank you.

MS. FARLEY: Adrian Farley, wife of
attempted victim -- murder victim, John Farley.
Last name spelled F-A-R-L-E-Y.

PRESIDING COMMISSIONER WELCH: Thank you.

MR. CARRAZCO: Angel Carrazco,
C-A-R-R-A-Z-C-O, criminal investigator with San
Joaquin County District Attorney’s office.

PRESIDING COMMISSIONER WELCH: Thank you.

MS. K. CARNEGIE: Karen Carnegie, widow.

PRESIDING COMMISSIONER WELCH: Okay. Let’s
qo ~~ And you’re here as --

MR. CARRAZCO: I’m with the District
Attorney from San Joaquin County.

PRESIDING COMMISSIONER WELCH: Okay. Thank
you. District Attorney.

DEPUTY DISTRICT ATTORNEY BLANSETT: Eual
Desmond Blansett Jr., B-L-A-N-S~E-T-T. I’ma
Deputy District Attorney with San Joaquin County.

PRESIDING COMMISSIONER WELCH: Thank you,
District Attorney.

ATTORNEY MONTGOMERY: Cheryl Montgomery,
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M-O-N-T-G-O-M-E-R-Y, attorney for Mr. Mackey.

PRESIDING COMMISSIONER WELCH: Thank you,
Ms. Montgomery. Mr. Mackey, would you introduce
yourself, please.

INMATE MACKEY: James Mackey, M-A~-C-K-E-Y.

PRESIDING COMMISSIONER WELCH: Okay. Would
you spell your last name, Mr. Mackey.

INMATE MACKEY: M-A-C-K-E-Y.

PRESIDING COMMISSIONER WELCH: And your CDC
number.

INMATE MACKEY: #-76532.

PRESIDING COMMISSIONER WELCH: Okay.

Mr. Mackey, that identifies everyone in the room

“with the exception of the two correctional peace

officers. And they are here for security purposes
only and will not be taking part in today’s
proceedings. Okay.

INMATE MACKEY: Okay.

PRESIDING COMMISSIONER WELCH: Ali right.
Mr. Mackey, before we get started, there’s some
chings I need to talk to you about. Are you
familiar with the American With Disabilities law?

INMATE MACKEY: Yes, Sir.

PRESIDING COMMISSIONER WELCH: Had an
opportunity to talk about that law with your
correctional counselor?

INMATE MACKEY: Yes, Sir.
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1 PRESIDING COMMISSIONER WELCH: Very gocd.

2 There’s an overview of the law in front of you on

3 that statement. So we’ll have documentation that

4 you are cognizant of the law, what I’d like for you
5 to do is to read that statement into the record,

6 please.

7 INMATE MACKEY:
8 “The Americans With Disabilities Act,
9 ADA, is a law to help people with
10 disabilities. Disabilities are
- 412 problems that make it harder for some
12 people to see, hear, breathe, talk,
13 walk, learn, think, work, or take
14 care of themselves than it is for
15 others. Nobody can be kept out of
16 public places or activities because
17 of a disability. If you have a
18 disability, you have the right to ask
19 for help to get ready for your BPT
20 hearing, get to the hearing, talk,
21 read forms and papers, and understand
22 the hearing process. BPT will look
23 at what you ask for to make sure that
24 you have a disability that is covered
295 by the ADA and that you have asked
26 for the right kind of help. I£ you

27 do not get help, or if you don’t
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think you got the kind of help you

need, ask for a BPT 1074 Grievance

Form. You can also get help to fall

it out.”

PRESIDING COMMISSIONER WELCH: That give you
a pretty good overview of what the law is all
about?

INMATE MACKEY: Yes.

PRESIDING COMMISSIONER WELCH: Now that
you're armed with that knowledge, let me ask you
again, do you have a disability as defined under
the American With Disabilities law?

INMATE MACKEY: No.

PRESIDING COMMISSTONER WELCH: Okay. Very
good. Do you wear glasses? I don’t see you have
any on today.

INMATE MACKEY: Not for reading.

PRESIDING COMMISSIONER WELCH: Okay. Do you
have any problems talking or reading or hearing,
any of those areas?

INMATE MACKEY: No.

PRESIDING COMMISSIONER WELCH: Okay. You
have a college degree. Is that correct?

TNMATE MACKEY: Yes, Sir.

PRESIDING COMMISSIONER WELCH: Certainly
with a college degree you should be able to read

and understand the documents necessary to prepare
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for this hearing. Is that correct?
_ INMATE MACKEY: Yes, Sir.

PRESIDING COMMISSIONER WELCH: Okay. Have
you received any mental health treatment within the
last 12 months?

INMATE MACKEY: No.

PRESIDING COMMISSIONER WELCH: Okay.
Counselor, do you have any concerns about your
client’s rights as it relates to the Americans With
Disabilities law?

ATTORNEY MONTGOMERY: No, I don’t. I don’t
believe there’s anything that would interfere with
his ability to participate or comprehend the
proceedings.

PRESIDING COMMISSIONER WELCH: I also noted
that your correctional counselor reviewed your file
and noted on the BPT Form 1073 that you have no
documentation that would preclude you from
proceeding with this hearing. Okay. Then are you
ready to proceed with the hearing, Counselor?

ATTORNEY MONTGOMERY: Yes, I am.

PRESIDING COMMISSIONER WELCH: You,

Mr. Mackey?

INMATE MACKEY: Yes, Sir.

PRESIDING COMMISSIONER WELCH: Okay.
Mr. Mackey, this hearing is being conducted

pursuant to Penal Code 3041 and 3042 and the rules
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and regulations of the Board of Prison Terms
governing life parole consideration hearings for
Life prisoners. The purpose of today’s hearing 1s
to determine your suitability for parole. Now we

will consider the nature and the number of the

crimes you were committed for, your prior

criminality, your social history, and your behavior
and programming since your commitment. We will
reach a decision today and inform you whether we
find you suitable for parole. Tf we find that you
are suitable for parole, the length of confinement
will also be explained to you. Do you understand
all that so far?

TNMATE MACKEY: Yes, Sir.

PRESIDING COMMISSIONER WELCH: Any
questions?

INMATE MACKEY: No.

PRESIDING COMMISSIONER WELCH: All right.
Since this is an initial hearing, I’m going to take
a few minutes and tell you what’s going to occur
today so you’lil be cognizant of it. Okay. First
of all, we went over -- we read your case factors
in the record, and then I talked to you a little
bit about the American With Disabilities Act. Now
what I’m doing is going over your due process

issues to ensure that all of the issues -~ your

rights are adhered to. Now when I’m finished doing
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that, I will talk to you about the crime if you
choose to do so, your prior criminality, and your
social history. When I’m finished talking to you
about those issues, my colleague will talk to you
about your post-conviction factors. Now post-
conviction factors is anything that have occurred
Since you’ve been in prison to include positive
behavior, negative behavior, accomplishments, all
of those kinds of things, all of your prison
behavior, whether it’s negative or positive. When
I’m finished talking to you about that -- or when
my colleague finished talking to you about that, I
will talk to you about your parole plans. And once
I cover your parole plans with you, I’1l cover the
3042 notices. And that’s letters objecting to your
parole (indiscernible). And when I’m finished with
that, we’ll go to questions. Myself and my
colleague will ask questions to clarify any issues
that we may have. Then we'll permit the District
Attorney the opportunity to ask questions if he
chooses to do so. However, his questions will be
directed to the Panel if he chooses to ask them,
and he’1ll be given the opportunity. And in turn,
you will answer to the Panel. You will not answer
directly to the District Attorney. And. .there’s a
reason for that. District Attorney, this is not an

adversarial type of hearing. It's a parole
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suitability hearing. So the District Attorney will
not cross-examine you directly. Do you understand
that?

INMATE MACKEY: Yes, Sir.

PRESIDING COMMISSTONER WELCH: Now before we
recess for deliberations, there again, if the
District Attorney chooses to do so, he will be
permitted to make a closing statement regarding
your suitability for parole and the length of
confinement. Your attorney will also be permitted
to make the same kind of statement, as well as
you'll be able to make the same type of statement.
Do you understand all that so far?

INMATE MACKEY: Yes.

PRESIDING COMMISSIONER WELCH: Now once you
make your statement, we have victims here. And at
least three of them will be permitted to make
victim impact statements. And a victim impact
statement is in terms of how the crime impacted
their lives, the crime that you committed. Do you
understand that?

INMATE MACKEY: Yes, Sir.

PRESIDING COMMISSIONER WELCH: And then
we'll recess, deliberate, reach a decision, and
then we’ll reconvene. And at that time we’jiji let
you know what our decision is. Do you understand

all that so far?
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1 INMATE MACKEY: Yes.

2 PRESIDING COMMISSIONER WELCH: Any

3 questions?

4 INMATE MACKEY: No.

5 PRESIDING COMMISSIONER WELCH: Okay. Very
6 good.

7 . DEPUTY COMMISSIONER DININNI: Io might point
8 out to Mr. Mackey that those are the general

9 procedures of these hearings. In this particular
10 hearing, the District Attorney won’t be making any
il statements or questions. Okay. That's in general,

LZ what Mr. Welch was describing to you.

i3 PRESIDING COMMISSIONER WELCH: But he will
14 be given the opportunity should he choose to do so.
15 Okay. Now the Board of Prison Term rules and the

16 law basically state that a parole date shall be

17 denied you if in the opinion of the two

18 Commissioners, your parole would pose an

19 unreasonable risk of danger to others. However,
20 prisoners do have certain rights. Counselor, --

21 Well, we’il just go over a few of your rights with .

22 you. You have the right to review your Central

23 File before you come to this hearing. You have a
24 right to present relevant documents, and you have a
25 right to. receive timely notification of this

26 hearing. Those are three of your rights. You have

27 additional rights. Counselor, have your client’s
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rights been met?

ATTORNEY MONTGOMERY : T believe they have, .
Commissioners. I believe if this hearing is like
every other hearing, tnis is late through no fault
of the present Commissioners, but it is late.

PRESIDING COMMISSIONER WELCH: Okay. Very
good. You have an additional. right, sir. .You have
the right to a fair and impartial Panel. Any
reason to believe the Panel members would not be
fair and impartial to you?

INMATE MACKEY: No.

PRESIDING COMMISSIONER WELCH: Okay. You
will receive a copy of our written tentative
decision today. That decision becomes effective in
120 days. You cannot appeal this decision to the
Board of Prison Terms. There’s no process for you.
to appeal at the Board of Prison Terms. However,
should you decided to file a writ with the court,
you may do so without exhausting you administrative
remedies with the Board of Prison Terms. Do you
understand that?

INMATE MACKEY: Yes, Sir.

PRESIDING COMMISSIONER WELCH: Okay. Very
good. Commissioner, is there any confidential
information in the prisoner's C-File?

DEPUTY COMMISSIONER DININNI: Only victim

information notice.
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PRESIDING COMMISSTONER WELCH: Okay. Sir,
you're not required to talk about this crime. I
didn’t tell you that. You’re not required to admit
to guilt. Do you understand that?

INMATE MACKEY: Yes, Sir.

PRESIDING COMMISSIONER WELCH: However, the
Panel members accept as true the findings of the
court. Counselor, I just passed you a copy of a
checklist that we will be using today. Would you
check to see if you have those documents.

ATTORNEY MONTGOMERY: Ido. I have these.
And I’1ll pass this to the District Attorney.

PRESIDING COMMISSIONER WELCH: District
Attorney, did you receive a packet of documents
from the Board of Prison Terms?

INMATE MACKEY: Yes.

PRESIDING COMMISSIONER WELCH: Do you have
those documents listed?

DEPUTY DISTRICT ATTORNEY BLANSETT: Yes, I

do.

PRESIDING COMMISSIONER WELCH: Okay. All
right. Counselor, I do have the documents that you
submitted prior to the hearing starting. Do you!’

have any additional documents you’d like to submit
today?
ATTORNEY MONTGOMERY: I do. Thank you,

Commissioner. This is a letter from the District
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Attorney sent to the Department of Corrections
regarding the agreement reached in this case. Here
is a copy of the terms of the contract, and here is
a memorandum prepared by your then executive
officer Mr. Patterson acknowledging this agreement.

PRESIDING COMMISSIONER WELCH: Okay. Very
good.

ATTORNEY MONTGOMERY: I have a number of
laudatory chronos. 1 don’t want to inundate you
with these. I believe that Commissioner DiNinni
probably already has these. But I have them
readily available in case you can’t find them.

DEPUTY COMMISSIONER DININNI: Okay.

PRESIDING COMMISSIONER WELCH: Okay.
Anything else?

ATTORNEY MONTGOMERY: No. Thank you.

PRESIDING COMMISSIONER WELCH: Any
preliminary objections?

ATTORNEY MONTGOMERY: No, not really. T
would like the record to reflect that my client did
seek an interview with the psychologist, and she
indicated she’s no longer involved with BPT
evaluations. So she could be of no help. I would
point out to the Board that the psychologist seems
to base ner conclusions on the information
contained in the Board Report. And that particular

information was provided by my client when he was
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specifically asked by the counselor to write down
what happened. It is lengthy. It’s not unusual in
an initial hearing for the individual to have
outlined all of the specifics in this case as he
has done. And it’s not an attempt to minimize or
shift blame. He is outlining all of the events as
they occurred. And I do have the request for the
interview and the doctor’s response.

PRESIDING COMMISSIONER WELCH: Okay. Very
good. So your client will be participating -- Will
your client be participating in the hearing? He'll
be answering questions?

ATTORNEY MONTGOMERY: Yes, he will.

PRESIDING COMMISSIONER WELCH: Okay. So
he’1ll be speaking to the Panel. Sir, would you
raise your right hand. Do you solemnly swear or
affirm that the testimony you give today will be
the wnole truth and nothing but the truth?

INMATE MACKEY: Ido.

PRESIDING COMMISSTONER WELCH: Okay. Before
we get started, let me just go to the District
Attorney. District Attorney, do you plan to
participate in this hearing today?

DEPUTY DISTRICT ATTORNEY BLANSETT: Not in
any significant way, and in particularly not ina
way that district attorneys normally participate.

I think Mr. Phillips who was the Deputy DA at the
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time that I was doing both trials in this case inade
an offer to Mr. Mackey that was accepted. I will
-- T cannot and will not do anything to undermine
the letter that was sent to the Board.

PRESIDING COMMISSIONER WELCH: Okay. So
you’ ll be just as an observer today.

DEPUTY DISTRICT ATTORNEY BLANSETT: Yes.

. PRESIDING COMMISSIONER WELCH: Okay. Very

good. Ali right. Sir, what I’m going to do,
Mr. Mackey, is go to the Probationary Report. And
I’m going to read the Statement of Facts into the
record, and I’ll talk to you about it. Okay. And
T’1ll start on page one. Under Summary of the
Offense it says,

“A real estate agent, Larry Carnegie,

stood with his back to an open garage

door on property at 14152 Bast Tokay

Colony Road, that’s T-O-K-A-Y, in

Lodi, L-O-D-1I. He was shot in the

back with the bullet [sic] froma

cross bow fired by James Mackey.

Mackey had been hiding inside the

garage waiting for Carnegie to be

Lured into position by Carl Hancock,

H-A-N-C-O-C-K, so Mackey could shoot

Carnegie. The shooting occurred the

evening of February 28? 1989.
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1 Moments after Carnegie was shot, a

2 car driven by Denise Brock,

3 B-R-O-C-K, drove into the property.

4 Brock and the children in her car saw
5 Carnegie on the ground, saw Carl

6 Hancock running towards Brock’s car,
7 and Saw Mackey standing over Carnegie
8 with his back to the car. Those in

9 the car was unable to give sheriff

10 deputies any more complete

Li description of Mackey then the

12 description of his clothing. Brock
13 » was frightened by the activity she

14 happened upon, quickly backed out of
15 the driveway, drove to a residence on
16 Telly, T-E-L-L-Y, Road and called 911
17 emergency dispatcher and reported

18 what she nad seen. When the deputies
19 from the sheriff’s department went to
20 the residence on Tokay Colony Road,
21 they found a bloody sleeping bag, the
22 Oloody bullet from a crossbow, and

23 Larry Carnegie’s car. Carnegie and
24 the two men described by Brock could
25 not be found. Carnegie’s body was

26 found the next afternoon at a rural

27 area along Highway 128 in Sonoma
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1 county. Subsequent investigation by
2 sheriff deputies involving 100s of

3 man hours of investigation revealed

4 that James Mackey had rented a Ford

5 on February 2etP 1989, that matched

6 the description of the car Brock had
7 seen parked at the shooting scene.

8 The car eventually was traced to

9 Southern California. Deputies

10 . retrieved the car and had. it examined
il by criminologists who found dried

12 blood in the Ford that matched

13 Carnegie’s blood. Mackey was

14 arrested for Carnegie’s murder on
15 June 1°*, 1989. He told investigators
16 pefore and after his arrest several
17 different versions of his role in the
18 murder. Mackey eventually implicated
19 Carl Hancock, H-A-N-C-O-C-K, as the
20 person who helped him kill Carnegie.
21 Mackey implicated Michael Blatt,

22 B-L-A-T-T, a wealthy local

23 pusinessman, property developer, and
24 business agent for athletes, as the
25 individual who solicited and paid

26 Mackey to kill Mr. Carnegie.”

27 That's pretty much the Statement of Facts. Did you

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commit this crime, sir?

INMATE MACKEY: Yes, Sir.

PRESIDING COMMISSIONER WELCH: And why did
you commit the crime?

INMATE MACKEY: Io just got out of school and
didn’t know what to do with myself. And I went to
Blatt for advice on real estate, because I was
taking classes. He said he would help me. I also
asked him about investments. And he had just
bought some condominiums wnere I was living, and he
said that I could buy one at the cost he paid. And
he said we could move in, and we moved into this
place. And after moving in, he told us that -- And
after moving in and fixing the place up, he told us

that we couldn’t buy it because Mr. Carnegie was

suing him. That it would just be a little while.
And until during that time, we had to pay rent. So
as time went by, I kept asking him about it. And

months and then a year went by and still he said --

he

ct

old us we couldn’t buy the place. And
sometimes he would say, boy, you know, if

Mr. Carnegie wasn’t around, this wouldn’t be a
problem. And the first couple of times he said it
to me, I didn’t pay any attention to him. I
ignored him. And the third time we were in his
office, and he said the same thing when I went to

ask him about the property. So I bit. IT said, do
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you want me to see what we can do about this. And
he said, yeah. And tT asked a friend of mine Carl
Hancock, who lI played football at UOP, if he knew
anyone. He said he did and that he would get in
touch with us. I just -- Time went by and nothing
happened. And Blatt kept asking me, you know,
what’s going on, what’s going on. And I was afraid
that he would think I was unreliable and not, you
know, want to have anything to do with me. And so
Io got personally involved, and I told Carl Hancock
to lure Mr. Carnegie to Tokay Colony Road, to tne
property out there, where we waited for

Mr. Carnegie. And after walking around the
property with Mr. Carnegie for a time, Carl lured
him in front of the garage.

PRESIDING COMMISSIONER WELCH: You’re going
to have to speak up just a little bit. Would you
push this a littie closer to you.

INMATE MACKEY: He lured Mr. Carnegie in
front of the garage, and I pointed the bow at his
silhouette. That’s all I could see, because it was
dark, and I pulled the trigger.

PRESIDING COMMISSIONER WELCH: Okay. Why’d
you do that?

INMATE MACKEY: I was just -- I was afraid.

I didn’t know what to do. And I was depending on
Case 2:07-cv-00347-ALA Document 1-2 2Filed 01/13/07. Page 24 of 48

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MR. CARNEGIE: Excuse me, Sir. Excuse me.
Could we ask (inaudible}.

PRESIDING COMMISSIONER WELCH: Sir, you
cannot --

MS. K. CARNEGIE: And blocking my view.

PRESIDING COMMISSIONER WELCH: Okay. Hold
om Just a second.

MR. CARNEGIE: I’m sorry. We can’t hear.

PRESIDING COMMISSIONER WELCH: Okay.

MR. CARNEGIE: She’s flipping pages. i’ m
sorry.

PRESIDING COMMISSIONER WELCH: Okay. We’re
going to ask you to be quiet. Okay. All right.
Counselor, could you try. to --

ATTORNEY MONTGOMERY : Yes.

PRESIDING COMMISSIONER WELCH: 77
(inaudible) a little softer, please.

ATTORNEY MONTGOMERY: I have reason to be
looking at documents. I will try to keep it down.

PRESIDING COMMISSIONER WELCH: Okay. And
Sir, could you speak up a little bit if you can.

INMATE MACKEY: Like I said before, I had

just gotten out of school, and I was depending on

Mr. Blatt to help me, and I was afraid that -- I
was just ~~ I didn’t know what to do with myself.
And I had been -- You know, when I was in school I,

you know, had been the guy who always knew what I
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cument 1 Filed 01/13/07 Page 25 of 48

1 was doing. And ?t wanted him to help me.

2 PRESIDING COMMISSIONER WELCH: But I guess
3 my question to you is, why did you contemplate

4 murder? Why did you decide to kill him at the

5 time?

6 INMATE MACKEY: tT was -- At the time when I
was at the property, i was just 50 afraid that if I

Op
8 didn’t, that the covers would be pulled. Everybody

9 would know that I was just fLaking it, going through
10 chis -- going through life. And with Mr. Blatt’s
11 friendship, people saw me as being somebody, and I

12 wanted to keep that.

13 PRESIDING COMMISSIONER WELCH: So to you
14 that was worth Killing a person, killing:
/
15 Mr. Carnegie over?
16 INMATE MACKEY: It was -~- It was cotally
17 illogical and stupid. At the time ~f was Just kind

18 of lost.

19 PRESIDING COMMISSIONER WELCH: So this

20 offense is something that you 7-7

21 INMATE MACKEY: It’s not a (indiscernible)
22 excuse.

23 PRESIDING COMMISSIONER WELCH: Okay. I’m
24 just trying to understand why you committed the
25 erime. So basically [ guess what I hear is that
26 you committed the crime over some real estate

27 property or to please someone else?
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1 INMATE MACKEY: Yeah. Basically, yes.

2 PRESIDING COMMISSIONER WELCH: Why would you
3 -- Could you give me any insight into why you would
4 be willing to take a person’s life for those

5 reasons?

6 INMATE MACKEY: I was just so caught up in

7 being the guy I was in high school, the guy I was
8 in college, that I did not want anyone to see me as

9 not being that guy.

10 PRESIDING COMMISSIONER WELCH: So what does
11 that have to do with --

12 INMATE MACKEY: Well, it’s --

13 PRESIDING COMMISSIONER WELCH: -~ shooting
14 Mr --

15 INMATE MACKEY: I (indiscernible), you know,
16 the sum of our lives. And that was just part of

17 it, you know. It was a cumulative thing. And when
18 I was out there, it was just that fear of everybody
19 seeing me for being -- not being anybody, you know,
20 special.

21 .PRESIDING COMMISSIONER WELCH: And where’d
22 you get the crossbow from?

23 INMATE MACKEY:. I bought it at a Big-5 in

24 Modesto.
25 PRESIDING COMMISSIONER WELCH: And when you
26 Shot Mr. Carnegie, how far from him were you?

27 INMATE MACKEY: . Maybe 15 feet, 10-15 feet.
NO

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PRESIDING COMMISSIONER WELCH: Had you used
the crossbow before?

INMATE MACKEY: IT had taken it -- When we
bought it, f had taken it to my mother’s house in
Prench Camp and fired it a few times.

PRESIDING COMMISSIONER WELCH: So you
practiced with it.

INMATE MACKEY: Yes, Sir.

PRESIDING COMMISSIONER WELCH: And why did
you buy it?

INMATE MACKEY: To shoot Mr. Carnegie.

PRESIDING COMMISSIONER WELCH: And then you
practiced?

INMATE MACKEY: yes, Sir.

PRESIDING COMMISSIONER WELCH: Now when you
shot Mr. Carnegie, what did you do after you shot
him?

INMATE MACKEY: I stayed in the garage for a
while. And Carl Hancock came back to the garage
and said that he needed help, that Mr. Carnegie was
still alive. And when I went out to where they
were, I think Carl was struggling with
Mr. Carnegie. When I got over there, 1 didn’t know
~~ {~ don’t remember ~~ All I really remember was
kneeling behind him and kind of holding him up.

PRESIDING COMMISSIONER WELCH: Who were you

holding up?
Case 2:07-cv-00347-ALA “Document 1-2 2Filed 01/13/07 Page 28 of 48

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INMATE MACKEY: Mr. Carnegie.

PRESIDING COMMISSIONER WELCH: Okay. Was he
still alive?

INMATE MACKEY: Yeah. I was just behind
him, put my arm around him, just holding him up.

PRESIDING COMMISSIONER WELCH: So when you
looked at -- Where did the bullet strike him at?

INMATE MACKEY: I couldn’t see.

PRESIDING COMMISSIONER WELCH: Okay. Go
ahead.

INMATE MACKEY: And I just -- I didn’t know
what to do.

PRESIDING COMMISSIONER WELCH: Well, it says
you ~~ What did you do?

INMATE MACKEY: I just Sat there, and that’s
when the car drove up. And when the light -- It
shined on my back and part of my face. And
Mr. Carnegie turned around, and he looked at me,
and he looked like he recognized me. And he said,
you're fucked. And I sat there until the car left,
and I just panicked, and I hit him.

PRESIDING COMMISSIONER WELCH: You did what?

INMATE MACKEY: I hit him twice, and then I
kicked him (inaudible). Iwas trying to make him
unconscious, so we could put him in the trunk.

PRESIDING COMMISSIONER WELCH: And then what

did you do?
Case 2:07-cv-00347-ALA Document 1-7, Filed 01/13/07

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INMATE MACKEY: after the car left, I called
Carl Hancock to help me and then put him in the
trunk.

PRESIDING COMMISSIONER WELCH: Now did you
~~ And after that what happened?

INMATE MACKEY: { got in the passenger side.
Carl was driving. And he was going too fast, and I
told him to slow down, to stop, and I’d drive, you
know. And we drove out to Mendocino County where
we parked behind a little hill. Cari went around
to the back. I told him, man, you have to finish
it. And he went back to the trunk. And when he
came back to the car, it was done.

PRESIDING COMMISSIONER WELCH: Now what
about this, “Hancock took the length of rope they
purchased that afternoon and tied a noose in it.

He put the rope around Carnegie’s neck and gave the
other end of the rope =o Mackey.” I’m on page six
if you're looking for where I’m at in the
Probationary Report ~~

ATTORNEY MONTGOMERY: Thank you.

PRESIDING COMMISSIONER WELCH: -- if you’re
looking for that. I'm on page six, and it’s the
second paragraph.

ATTORNEY MONTGOMERY: Yes.

PRESIDING COMMISSIONER WELCH: You

following?
Case 2:07-cv-00347-ALA Document 1-2 2 Filed 01/13/07 Page 30 of 48

1 ATTORNEY MONTGOMERY: Yes, I am. Thank you.
2 PRESIDING COMMISSIONER WELCH: Okay.

3 ' “He put the rope around Carnegie’s

4 neck and gave the other end of the

5 rope to Mackey who was standing |

6 outside the driver’s door. Hancock

7 told Mackey to pull on the rope.

8 Mackey pulled the rope until Carl
g eventually took. it from him. The
10 defendant got back into the car, and
11 Hancock closed the trunk and joined
12 Mackey. Then they drove east on 128
13 until they found a steep spot near
14 the road. They removed the victim's
15 body from the trunk and threw it down
16 the embankment.”
17 Is that true?
18 INMATE MACKEY: I don’t recall getting out
19 and saying that. I don’t recall getting out of the
20 car.
21 PRESIDING COMMISSIONER WELCH: Well, let’s
22 go back to tne rope part. Was there rope?
23 INMATE MACKEY: Yes, Sir.
24 PRESIDING COMMISSIONER WELCH: Did someone
25 --- Did you tie it into a noose?
26 INMATE MACKEY: I was -- The rope was in the

27 trunk.
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se 2:07-cv 00347 ALA Document 1,4 Filed 01/13/07

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PRESIDING COMMISSIONER WELCH: Did you buy

the rope especially to be used on Mr. Carnegie?
INMATE MACKEY: Yes, we were going to take

him in a sleeping bag to Tahoe and drop him in the

lake.

PRESIDING COMMISSIONER WELCH: That was your
plan?

INMATE MACKEY: Yes, Sir.

PRESIDING COMMISSIONER WELCH: To drop -7
T’m sorry. Were you going to say something,

Counsel?

ATTORNEY MONTGOMERY: What was the purpose
of the rope?

INMATE MACKEY: To tie a weight to it.

PRESIDING COMMISSIONER WELCH: So you were
going to weight him down in Lake Tahoe.

INMATE MACKEY: Yes, Sir.

PRESIDING COMMISSIONER WELCH: And so when
the witness drove up, they spoiled that.

INMATE MACKEY: Yes, Gir.

PRESIDING COMMISSIONER WELCH: And you guys
(indiscernible). Now Let's go back to the rope.
Did you tie it around his neck?

INMATE MACKEY: No, Sir. I was in the car.

PRESIDING COMMISSIONER WELCH: Well, who
else was with you?

INMATE MACKEY: Just Carl Hancock.
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1 PRESIDING COMMISSIONER WELCH: Just who?

2 INMATE MACKEY: Carl Hancock.

3 PRESIDING COMMISSIONER WELCH: Okay. 50

4 you're saying that you didn’t participate in

5 choking him with the rope?

6 INMATE MACKEY: No, Sir. ITowas in the car.
7 PRESIDING COMMISSIONER WELCH: Okay. Now

g how long you been in prison, sir?

9 INMATE MACKEY: Sixteen years on June 1°°,
10 PRESIDING COMMISSIONER WELCH: Sixteen

il years. Now you’ve had time to think about this

12 crime.

13 | INMATE MACKEY: Yes, Sir.

14 PRESIDING COMMISSIONER WELCH: Do you have
15 any insight into why you would do something like
16 this?

17 INMATE MACKEY: Yes, I do. I don’t want to
18 -- I don’t blame what I did on anyone else or

19 anything that happened to me when I was a young

20 kid, getting beaten or anything like that. But

21 what I’ve learned, you know, through self-help and
22 self-examination is that many of those things are
23 factors, they do come -- you know, they are part of
24 your life and what happens to you. I learned not

25 to tell anybody anything when I was little, just

26 keep things to myself. That’s what got me by.

27 PRESIDING COMMISSIONER WELCH: Now what does
Case 2:07-cv- - ,
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that have to do with committing a murder?
TNMATE MACKEY: Well, iike I said before,
it’s just part of who I became in my life. I

didn’t talk about things to people when I was

having problems. And it made me have to ~~ T put
up this facade. you know if something was wrong, L
couldn't talk about it. When I got out of college,

I didn’t even know what to do with myself.

PRESIDING COMMISSIONER WELCH: Okay. But
you know, a lot of folks get out of college. A lot
of people get out of high school and don’t know
what to do with themselves, but they don’t go out
and murder someone.

INMATE MACKEY : I understand.

PRESIDING COMMISSIONER WELCH: Yeah. But
what about you would make you go and murder someone
for financial gain?

INMATE MACKEY: I guess my ego was SO big
chat I just could not let anybody see me as not
being successful.

PRESIDING COMMISSIONER WELCH: Now this is
16 years ilater, but at the time of the crime, from
everything [ can read, you eagerly participated in
this.

INMATE MACKEY: Well, I wasn’t eager.

PRESIDING COMMISSIONER WELCH: Well, you did

it.
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1 INMATE MACKEY: Yeah, I was there. I pulled
2 the trigger, and I committed the crime.
3 PRESIDING COMMISSIONER WELCH: You had a
4 college education. You had all these things going
5 for you.
6 , INMATE MACKEY: Yes, Sir. They don’t teach
7 you about things like this in --
8 PRESIDING COMMISSIONER WELCH: I’ve got to
9 tell you, I’m struggling to -- And I’ve given you a
10 lot of time to talk. I’m struggling to determine
11 whether or not you have insight and why you would
12 do this. And I don’t understand. I know you did
13 it. You told me about the condo. You told me

214 about the money. But a person that had been a

15 football player, had been successful, got a college

16 degree, had the tools to succeed, I don’t

17 understand why you would do something like that?

18 INMATE MACKEY: It wasn’t logical.

19 PRESIDING COMMISSIONER WELCH: Well, I know
20 that. But I want to know why.

21 INMATE MACKEY: All I can tell you, Sir, is
22 that L wasn’t emotionally prepared. I wasn’t ready

23 to enter life.

24 PRESIDING COMMISSIONER WELCH: What does
25 that nave to do with killing somebody?

26 INMATE MACKEY: Well, it made me dependant

27 on Michael Blatt and his good favor.
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PRESIDING COMMISSIONER WELCH: Okay.

INMATE MACKEY: And I was willing to do
anything Lo stay in his favor.

PRESIDING COMMISSIONER WELCH: Why do you
feel you were 50 dependant on Michael Blatt?
Blatt, is that his name?

INMATE MACKEY: Yeah.

PRESIDING COMMISSIONER WELCH: Why were you
so dependant on Mr. Blatt?

INMATE MACKEY: Because t had no -- I didn’t
know what to do with myself, and lI wanted --

PRESIDING COMMISSIONER WELCH: Wasn't he a
-- He was a sports agent. Is that correct?

INMATE MACKEY: He was a sports agent, and
he was a booster at school who, you know, who kind
of befriended me when I was at school. When I
wanted advice, I’d go talk to him.

PRESIDING COMMISSIONER WELCH: Were you any
good at football?

INMATE MACKEY: Yes, Sir.

PRESIDING COMMISSIONER WELCH: Did you get
offered a pro contract?

INMATE MACKEY: IT tore up my knee
(inaudible).

PRESIDING COMMISSIONER WELCH: You tore your
knee. Okay. Okay. Is there anything else you

want to tell us about this crime?
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INMATE MACKEY: Just I’ve always been sorry.

PRESIDING COMMISSIONER WELCH: That was
going to be my next question to you. Do you have
any remorse?

INMATE MACKEY: I’ve always been sorry.

PRESIDING COMMISSIONER WELCH: So when did
you first become sorry?

INMATE MACKEY: Well, that. day. I mean [I
was sick for three months. And I never even felt a
little bit better until I turned myself in.

PRESIDING COMMISSIONER WELCH: Let me ask
you this now. That remorse that you just described
to me, ~~

INMATE MACKEY: Yes, Sir.

PRESIDING COMMISSIONER WELCH: -- about what
time was it when you shot Mr. Carnegie?

TNMATE MACKEY: To don’t know, Sir, It was
early evening.

PRESIDING COMMISSIONER WELCH: How early?

ATTORNEY MONTGOMERY: About 7:00-7:30.

INMATE MACKEY: About 7:00.

PRESIDING COMMISSIONER WELCH: Was it dark,
Light outside?

INMATE MACKEY: It was dark.

PRESIDING COMMISSIONER WELCH: Tt was dark.
Now you were standing there with the bow. And this

feeling of remorse that you feel now, did you feel
Case 2:07-cv-00347-ALA Document 134

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that before you shot him, before you pulied the
strings back and let it go?

INMATE MACKEY: No, I wasn’t thinking about
it. 1 wasn’t considering anything else but myself.

PRESIDING COMMISSIONER WELCH: Were you
drinking?

INMATE MACKEY: No.

PRESIDING COMMISSIONER WELCH: You were
stone sober?

INMATE MACKEY: yes, Sir.

PRESIDING COMMISSIONER WELCH: Now this
thing you told me about your younger days, what
about that would cause you do to that? You were
crying to tie that together before JI cut you off.

INMATE MACKEY: I was just saying how f
didn’t -~ 1 couldn’t express myself. I didn’t talk
to anybody about any problems II had. IT kept
everything to myself. When something was wrong, 1
colt I had to handle it.. And I got that from when
I was a kad.

PRESIDING COMMISSIONER WELCH: But how does
that correlate to -~

INMATE MACKEY: I could not ask anybody for

help. When something -- When I didn’t feel
comfortable in a situation, I just -- You know, I
didn’t -- i never depended on anybody. And I

depended on Mr. Blatt. That’s the only time in my
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whole life.

PRESIDING COMMISSIONER WELCH:

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How do you

correlate those formative years to shooting

Someone,

what you just described?

gqeing to correlate that?

INMATE MACKEY:

How are you

It’s not the shooting. It’s

just this holding everything inside and having --

And the only time I ever depended on somebody was

this man.

learned not to depend on anybody.

right.

Were you

PRESIDING COMMISSIONER WELCH:

When I learned -- When I was young, I

Okay. All

Let’s go to your prior criminal nistory.

INMATE MACKEY:

ever arrested as a juvenile?

No, Sir.

PRESIDING COMMISSIONER WELCH:

What about as

an adult? Were you ever arrested as an adult?

INMATE MACKEY:

No.

PRESIDING COMMISSIONER WELCH:

And we’ve

already talked a little bit about your social

history.

INMATE. MACKEY:

Where were you born?

Excuse me?

PRESIDING COMMISSIONER WELCH:

you born?

“That's

INMATE MACKEY:

In French Camp.

PRESIDING COMMISSIONER WELCH:

in -- That’s down by Stockton?

INMATE MACKEY:

Uh-hmm.

Where were

French Camp.
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1 PRESIDING COMMISSIONER WELCH: Did you grow
2 up in an intact home with both parents in the home?
3 INMATE MACKEY: No.

4 PRESIDING COMMISSIONER WELCH: Who was the

5 primary caregiver?

6 INMATE MACKEY: My mother.

7 PRESIDING COMMISSIONER WELCH: bid she

8 provide a stable home for you?

3 INMATE MACKEY: Yes, it was a stable home.
10 PRESIDING COMMISSIONER WELCH: Any siblings
11 in the home?

12 INMATE MACKEY: I have four brothers and two
13 sisters.

14 PRESIDING COMMISSIONER WELCH: Have any of
15 them had problems with law enforcement agencies?

16 INMATE MACKEY: Yes, Sir.

V7 PRESIDING COMMISSIONER WELCH: What kinds of

19 INMATE MACKEY: Three of my brothers have
20 heen in prison for drug charges.

21 PRESIDING COMMISSIONER WELCH: Okay.

22 ATTORNEY MONTGOMERY: These are half-

23 brothers. Is that correct?

24 INMATE MACKEY: Yes.

25 PRESIDING COMMISSIONER WELCH: Okay. What
26 about your sisters?

2] TNMATE MACKEY: Not that I know of.
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PRESIDING COMMISSIONER WELCH:

already know about your education.

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Okay. so I

Just for the

record, you received a Bachelor of Arts degree in

sports medicine. Is that correct?
INMATE MACKEY: PLE.
PRESIDING COMMISSIONER WELCH:
INMATE MACKEY : Yes, Sir.
PRESIDING COMMISSIONER WELCH:
sports medicine. It was --
INMATE MACKEY: PLE,

PRESIDING COMMISSIONER WELCH:

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But it wasn’t

-- PLE.

INMATE MACKEY: Yeah, it was P.E. with

sports medicine track.

PRESIDING COMMISSIONER WELCH:

With sports

medicine. But you did get your bachelor’s degree.

Is that correct?

PRESIDING COMMISSIONER WELCH:

intended University Pacific?

INMATE MACKEY: Yes, Sir.

PRESIDING COMMISSIONER WELCH:

football on a scholarship?

INMATE MACKEY: No.

PRESIDING COMMISSIONER WELCH:

position did you play?

INMATE MACKEY: Running back.

PRESIDING COMMISSIONER WELCH:

And you

Did you play

And what

Running back.
Loto,

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Okay. Employment history, give me an overview of
your employment history prior to coming to prison.
What kind of jobs you held in the past.

INMATE MACKEY: I was always in school. So
most the jobs I had were summer jobs.

PRESIDING COMMISSIONER WELCH: Okay.

INMATE MACKEY: I was a taxi driver. At an
army base I was a cook’s assistant. I did
landscaping, 4 bodyguard, worked at a planing mill.

PRESIDING COMMISSIONER WELCH: Okay.
Anything else?

INMATE MACKEY: Janitorial stuff.

PRESIDING COMMISSIONER WELCH: Okay. You
use any illegal drugs before you came to prison?

INMATE MACKEY: No, Sir.

PRESIDING COMMISSIONER WELCH: What about
steroids? bid yon use any steroids?

INMATE MACKEY: No, Sir.

PRESIDING COMMISSIONER WELCH: Okay. Were
you married before you came to prison?

INMATE MACKEY: yes.

PRESIDING COMMISSIONER WELCH: And how many
times?

INMATE MACKEY: Just once.

PRESIDING COMMISSIONER WELCH: Any children?

INMATE MACKEY: One son.

PRESIDING COMMISSIONER WELCH: How’s he
Case 2:07-cv-00347-ALA Document 1-2 3 Filed 01/13/07 Page 42 of 48

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doing?

INMATE MACKEY: T haven’t heard from nim,
his mother, or any of them in a number of years.

PRESIDING COMMISSIONER WELCH: No contact
with him?

INMATE MACKEY: No.

PRESIDING COMMISSIONER WELCH: So how old
would he be now?

INMATE MACKEY: He’s going to be 16 in July.

PRESIDING COMMISSIONER WELCH: Sixteen.
Never used -- You never used any illegal drugs? Is
that what you testified to earlier?

INMATE MACKEY: I tried pot when TI was in
junior high school.

PRESIDING COMMISSIONER WELCH: So you’ve
tried marijuana once when you were 13. Ts that
correct?

INMATE MACKEY: Yeah.

PRESIDING COMMISSIONER WELCH: What about

“iy

alcohol? How often did you use alcohol?

INMATE MACKEY: Just 1£ I went out with
somebody from work, I’d have one beer. And I’d do
that maybe two or three times a week.

PRESIDING COMMISSIONER WELCH: Okay.
Anything else you’d like to tell us about your
social history? vat the time you committed the

crime, I see you were in real estate. Is that
Oo

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correct?

INMATE MACKEY: Yes, Sir.

PRESIDING COMMISSIONER WELCH: Were you
making -~- [ft says that you earned approximately ~~
What year did you commit the crime?

INMATE MACKEY: Bighty-nine.

PRESIDING COMMISSIONER WELCH: Bighty-nine.
In ’89 you earned approximately 6,000 dollars in
real estate. Is chat correct?

INMATE MACKEY: Yes, Sit.

PRESIDING COMMISSIONER WELCH: In '88 you
earned approximately 8,000 dollars. So did you do
anything to supplement your income?

INMATE MACKEY: Just some personal fitness

training.

PRESIDING COMMISSIONER WELCH: Personal
fitness training. So you workea for a major sports
club?

INMATE MACKEY: No, just go to people’s
nomes, the people who could afford it. Go to tneir

homes and help them exercise.

PRESIDING COMMISSIONER WELCH: In their
homes?

INMATE MACKEY: Yes, Sit.

PRESIDING COMMISSIONER WELCH: Okay. So
what did you do, calisthenics, weights, or what?

INMATE MACKEY: Different things, I'd take
Case 2:07-cv-00347-ALA Document 1-2 4 Filed 01/13/07 Page 44 of 48

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some weight equipment or a bicycle, a rower.

PRESIDING COMMISSTONER WELCH: Okay. Very
good. Sir, what I’d like for you to do now is give
your attention to my colleague. He’s going to talk
to you about post-conviction factors. I’1l] come

back and talk to you about your parole plans ina
few minutes. Okay.

DEPUTY COMMISSIONER DININNI: Mr. Mackey,
this is your Initial Parole Consideration Hearing.
Your CDC 262 was last updated April 25° of ‘05,
indicates you were assigned as a clerk in Medium AD
custody, and 19 points classification score. Are
you still assigned as a clerk?

INMATE MACKEY: Yes, Sir.

DEPUTY COMMISSIONER DININNI: All right.
CDC 812 was last updated April 21°* of '05,
indicated no gang affiliation. And one non-
confidential enemy is Michael Blatt.

[Thereupon, the tape was turned over. ]

DEPUTY COMMISSIONER DININNI: Back on the
record. Only off the record to turn the tapes
over. You were received at DVI November 20°F)
1990. Does that sound right?

INMATE MACKEY: Yes, Sir.

DEPUTY COMMISSIONER DININNI: Okay. Then
transferred to Folsom February 23, ‘91. There’s

several out to courts noted. Received in Mule
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Creek January ll, 93, and you’ve been here ever
since. Is that correct?

INMATE MACKEY: Yes, Sir.

DEPUTY COMMISSIONER DININNTI: Okay.

Disciplinary history indicates one 115. That was
administrative, December 25, ‘96, and it was for
horseplay. No 128(a)s noted. Several chronos with

regard to your participation in self-help regarding
your performance, exceptional performance. And

T’ li note the ones Counsel wanted me to note there.
You want me to note the Board packet ones, is that
it?

ATTORNEY MONTGOMERY : T think I have those
separate as well. But yes, please.

DEPUTY COMMISSIONER DININNI: For the
record, Mr. Welch asked me about confidential
information, and the Board Report indicates crime
partner information located in the confidential
section.

PRESIDING COMMISSIONER WELCH: Okay.

DEPUTY COMMISSIONER DININNI: As I noted,
only victim witness information is in there. I
don’t have the crime partner information.

PRESIDING COMMISSIONER WELCH: Okay. Thank
you.

DEPUTY COMMISSIONER DININNI: We've got

laudatory. chronos, several noted from Pastor Scott
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Oo

Barham, B-A-R-H-A-M. The most recent one December
1°", 2004, and 13-weeks one-hour study Breaking the
Cycle. Also one dated August 18", 2004, April 1,
2004, August 1, 2003, December 3r8) 2003, from that
author. A chrono December 1, '93, literacy
facilitator, last name G-U-E-F-F-R-O-Y, indicating
completing the Laubach action tutor training
workshop. And R. X. Perry, P-E-R-R-Y, correctional
counselor II, April y4qte, '94, correctional
counselor II cierk, several months, willingness to
accept additional assignments, reliability, proven
to be an asset to classification process and
displays a pleasant attitude, willingness to accept
additional assignments. That’s R. X. Perry. M.
Merritt, M-B-R-R-I-T-T, CC-Ii, May. 1, 1995, STOP
program, Stay Out of Prison, Mule Creek State
Prison, 12 sessions of Framework For Recovery,
volunteered to enter the program and successfully
graduated. Attendance. and participation were good.
Displayed a desire to make positive changes in
life. And now eligible for (indiscernible).

Alicia Ramirez-Brewer, R-A-M-I-R-E-4 hyphen
B-R-E-W-E-R, educational doctorate, May ret, 'O5,
(indiscernible) University, books, participating in
a master’s program in health, P.E., and sports
therapy medicine, and is improving that program.

Also cosigned by Associate Warden Claudia Weezer.
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Another chrono by M. Merritt, October 19°" of '95,-
participated July, August, September of ‘95,
volunteer class, Understanding Your Feelings, 15-
session course covering topics including anger
management, modifying response to various feelings,
developing empathy, assertive communication skills.
Attitude and attendance were very good. R. W.
Townsend, [-O-W-N-S-E-N-D, correctional counselor
II, laudatory chrono, March 21, 196, CC-II clerk,
27 months, proven reliable, dependable,
trustworthy, completes all assigned tasks, minimal
amount of supervision, consistently displays pride
in maintaining accuracy and has excellent rapport
with staff and inmates. William Arbios,
A-R-B-1-O-S, medical secretary, 12/21/99, providing
assistance in mental health services department
approximately the last two years, volunteers
assistance purchasing equipment and supplies for
the department, demonstrated a high level of
competency, been able to obtain necessary

information, making purchases. “T want to thank

Inmate Mackey for all the help these past years.

He has demonstrated a positive and helpful
attitude, enhanced guality and success in mental
health services.” AA chrono January 8, 2001, Bob
DiPiero, D-I capital P-I-E-R-O. Another chrono

from mental health, program participation tracking
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1 BOP inmate groups as needed, design and implement

2 new system and took on a job ordering supplies,

3 equipment, and furniture, tracking sheets for

4 approximately 150 inmates, all while performing his
5 assigned duties as CC-II clerk and facility

6 captain’s clerk. These duties are now performed by
7 three clerks who are assigned full time.

8 “Mr. Mackey’s assistance to-.the

9 program has been invaluable.

10 Attitude regarding helping

11 inmates/staff should be commended.

12 Definitely been an asset to mental

13 health program, and I feel that she

14 would be an asset to the community

15 when he is paroled. As you consider

16 his parole, please keep these things

17 in mind. R. T. Geyser, G-E-Y-S-E-R,

18 recreational therapist, March 8,

19 POL.”

20 An additional chrono from M. Merritt, May 10°",

21 2001. Volunteered participation in emotional

22 literacy course, Houses of Healing, topics of anger
23 management, improving coping skills, dealing

24 effectively with shame, guilt, and forgiveness.

25 Participated fully and displayed a positive
26 attitude. M. Kay, K-A-Y, CC-II, program

27 specialist, February 1, 2002. Volunteered to
